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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   ORACLE AMERICA, INC.,                                     No. C 10-03561 WHA
                                                                         11
United States District Court




                                                                                             Plaintiff,
                               For the Northern District of California




                                                                         12     v.                                                      ORDER REGARDING
                                                                         13                                                             PROPOSED ASSIGNMENT
                                                                              GOOGLE INC.,                                              ORDER FOR RULE 706 EXPERT
                                                                         14                  Defendant.
                                                                         15                                              /

                                                                         16          The proposed order regarding the assignment for the Rule 706 expert (Dkt. No. 393) is
                                                                         17   acknowledged. The parties are requested to submit a revised version of the proposed order in
                                                                         18   accordance with the following guidance.
                                                                         19          First, precise deadlines should be set for the completion of Dr. Kearl’s expert report and
                                                                         20   deposition. As stated in the August 30 order appointing Dr. Kearl, his assignment should be
                                                                         21   planned such that it can be completed by early December in preparation for a possible damages
                                                                         22   trial at that time. Allowing a nebulous “reasonable period of time” for completion of those tasks
                                                                         23   would risk undue delay. The Court may consider altering the deadlines for Dr. Kearl’s report and
                                                                         24   deposition in light of future case developments, but in the meantime a workable schedule must be
                                                                         25   established and followed.
                                                                         26          Second, Dr. Kearl’s role as a Rule 706 expert will be to inform the jury on the issue of
                                                                         27   damages, not to advise the Court. The assignment order should not make reference to Dr. Kearl
                                                                         28   assisting the Court.
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                                                                          1          Third, counsel are requested to proofread the proposed order carefully and correct all
                                                                          2   typographical errors such as missing words.
                                                                          3          The revised version of the proposed order should be filed by SEPTEMBER 8, 2011.
                                                                          4
                                                                          5          IT IS SO ORDERED.
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                                                                          7   Dated: September 6, 2011.
                                                                                                                                  WILLIAM ALSUP
                                                                          8                                                       UNITED STATES DISTRICT JUDGE
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United States District Court
                               For the Northern District of California




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